     Case 3:18-cv-00428-DMS-MDD Document 162 Filed 07/27/18 PageID.2848 Page 1 of 2


 1
 2
 3
 4
 5
 6
 7
 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11     Ms. L.; et al.,                                     Case No.: 18cv0428 DMS (MDD)
12                           Petitioners-Plaintiffs,
                                                           ORDER FOLLOWING STATUS
13     v.                                                  CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
15
                         Respondents-Defendants.
16
17
18           A status conference was held on July 27, 2018. Lee Gelernt appeared and argued
19     for Plaintiffs, and Sarah Fabian and Scott Stewart appeared and argued for Defendants.
20     After consulting with counsel and being advised of the status of the case, IT IS HEREBY
21     ORDERED:
22     1.    On or before July 30, 2018, Defendants shall provide to Plaintiffs a list of all
23     reunified families for the 5-17 year-old group.
24     2.    On or before August 1, 2018, Defendants shall provide to Plaintiffs a list of parents
25     that were excluded from the Class, and the reasons for those exclusions.
26     3.    On or before August 1, 2018, Defendants shall provide to Plaintiffs (a) a list of all
27     Class Members that were removed from the country prior to issuance of the preliminary
28

                                                       1
                                                                                  18cv0428 DMS (MDD)
     Case 3:18-cv-00428-DMS-MDD Document 162 Filed 07/27/18 PageID.2849 Page 2 of 2


 1     injunction, (b) a list of all Class Members that were released to the interior and have not
 2     yet been located, and (c) a list of all parents in criminal custody.
 3           Defendants shall provide to Plaintiffs all information identified on pages five
 4     through nine of the parties’ July 26, 2018 Joint Status Report. If Defendants are unable to
 5     provide that information, they should explain why in the Joint Status Report identified
 6     below.
 7     4.    The parties shall submit a further status report on or before 3:00 p.m. on August 2,
 8     2018. A further telephonic status conference shall be held on August 3, 2018, at 1:00 p.m.
 9     Counsel appearing at the conference shall provide the Court with their contact numbers for
10     the conference. The dial in number for any members of the news media that wish to attend
11     the conference is as follows.
12           1.     Dial the toll free number: 877-411-9748;
13           2.     Enter the Access Code: 6246317 (Participants will be put on hold until the
14                  Court activates the conference call);
15           3.     Enter the Participant Security Code 08030428 and Press # (The security code
16                  will be confirmed);
17           4.     Once the Security Code is confirmed, participants will be prompted to Press
18                  1 to join the conference or Press 2 to re-enter the Security Code.
19           This number is for media only. Members of the general public may attend in person.
20     All persons dialing in to the conference are reminded that Civil Local Rule 83.7(c) prohibits
21     any recording of court proceedings.
22      Dated: July 27, 2018
23
24
25
26
27
28

                                                      2
                                                                                  18cv0428 DMS (MDD)
